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IN THE UNITED STATES DISTRICT COURT 'j`£b `

FoR THE wEsTERN DIsTRIcT oF TENNEssEE _:fq .
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JoHN N. nooPER, ;DU§ULMQWWS

Piaintiff,

v. No. 00-2863 Mi/P
PUBLIc PRoPERTIEs MANAGEMENT,
INc., PPM 1 PARTNERSHIP, L.P.,
PPM rv PARTNERSHIP, L.P.,

PPM v PARTNERSHIP, L.P.,

PPM vIII PARTNERSHIP, L.P.,
DAvID s. woLFE, INDIVIDUALLY
AND IN HIs oFFIcIAL cAPAcITY,
HARoLn E. sMITH, DAvE W. DoGAN,
sTEPHEN sMITH, LAUREN L. REAGER,
M.D., WELLs FARGo BANK ns
TRusTEE oF THE LAuREN L. REAGER,
M.n. PENsIoN PLAN TRUsT,
sUNBURsT BoLToN, LLc, MIcHAEL
JoNEs, AND KENNETH JoNEs,

V\_¢vvvvvvwvvvvvvvvvvv\-Iv

Defandants.

 

ORDER GRANTING DEFENDANTS LAUREN L. REAGER AND WELLS FARGO BANK
AS TRUSTEE OF THE LAUREN L. REAGER, M.D. PENSION PLAN TRUST'S
MDTION TO DISMISS

 

Before the Court is the Motion to Dismiss or, in the
Alternative, to Transfer Venue of Defendants Lauren L. Reager,
M.D. (“Dr. Reager”} and Wells Fargo Bank as Trustee of the Lanren
L. Reager, M.D. Pension Plan Trust (“Wells Fargo”), filed April
18, 2005. Plaintiff filed a response to the motion on May 18,
2005. Defendants Michael Jones and Kenneth Jones also filed a

response in opposition to the motion on May lB, 2005. Defendants

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w|th Rule 58 and/or 79(a) FHC~P on "

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Dr. Reager and Wells Fargo filed a reply on June 2, 2005. For
the following reasons, the motion to dismiss as to Dr. Reager and
Wells Fargo for lack of personal jurisdiction is GRANTED.

I. BACKGROUND

The instant case relates to a real estate transaction
involving former business partners, Plaintiff John Hooper and
Defendant David Wolfe, regarding the purchase of certain
commercial real estate property in Pico Rivera, California, in
the mid“1990‘s. Mr. Hooper and Mr. Wolfe had worked together in
real estate since 1986. Generally, Mr. Hooper would analyze the
value of commercial real estate and determine whether a given
property should be purchased, and Mr. Wolfe would arrange the
financing for the projects.

Mr. Wolfe is the sole shareholder of Public Properties
Management, Inc. (“PPM, Inc.”), a Tennessee corporation. PPM,
Inc. is the general partner of numerous Tennessee limited
partnerships bearing similar names, including PPM l Partnership,
L.P. (“PPM I”}, PPM III Partnership, L.P. (“PPM III”), PPM IV
Partnership, L.P. (“PPM IV”), PPM V Partnership, L.P. (“PPM V”),
and PPM VIII Partnership, L.P. (“PPM VIII”).

Plaintiff alleges that Mr. Wolfe agreed to obtain financing
to purchase the property and that profits from the transaction
would be split evenly between the two men. After Plaintiff
completed the due diligence work with the assistance of

Defendants Kenneth and Michael Jones (“the Joneses”) and

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recommended that the property be purchased, however, Plaintiff
discovered that Mr. Wolfe had purchased the Pico Rivera property
for himself through PPM III. Mr. Wolfe allegedly created PPM,
Inc., which was made a general partner to PPM III, with Mr. Wolfe
as the sole limited partner of PPM III.

Defendant Dr. Reager, an associate of Mr. Wolfe, financed
the transaction via a loan of $l.? million issued by the Lauren
L. Reager, M.D. Pension Plan Trust administered by Trustee Wells
Fargo Bank. Dr. Reager resides in Los Angeles, California, and
practices medicine in Santa Monica, California. Wells Fargo, the
trustee of Dr. Reager’s Pension Plan Trust, is a Delaware
corporation with no branches or offices in Tennessee.

Plaintiff subsequently sought from Mr. Wolfe a fifty percent
interest in the Pico Rivera property. Plaintiff alleges that Mr.
Wolfe refused and stated that unless Plaintiff and the Joneses
shared a forty percent interest in the property, he would have
Dr. Reager foreclose on the loan to PPM III, thereby leaving
Plaintiff and his associates with nothing. Plaintiff agreed to a
less than fifty percent interest in PPM III, assertedly in order
to protect his interests, and filed suit against Defendants.
Therefore, prior to Plaintiff’s suit, PPM III had title to the
Pico Rivera property, with PPM, Inc. as the general partner and
Messrs. Wolfe, Hooper, Jones, and Jones as limited partners.

This case was originally brought by Plaintiff in the United

States District Court for the District of Connecticut. After the

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case was transferred to the Western District of Tennessee,
Plaintiff filed a second amended complaint, adding PPM III and
the Joneses as defendants. The Joneses were voluntarily
dismissed without prejudice on March 23, 2001. On January 29,
2002, Plaintiff voluntarily dismissed PPM III as a defendant,
without prejudice, because Plaintiff was a limited partner of PPM
III and therefore diversity jurisdiction may have otherwise been
jeopardized.

On December 16, 2002, this Court ordered the Pico Rivera
property to be sold to a third party, leaving PPM III with $1.7
million in net proceeds from the sale, to remain in escrow while
the litigation proceeded. On March 18, 2003, Plaintiff moved to
file a Third Amended Complaint and to join four additional
defendants: PPM V, Dr. Reager, Wells Fargo, and Sunburst Bolton,
LLC. (See Mot. to Am. Compl. and for Joinder of Add’l Def.’s,
March 18, 2003 (Docket No. 283).) Defendants filed an opposition
to that motion on March 28, 2003.

On April 23, 2003, before the Court had ruled on Plaintiff's
motion to amend his complaint, the United States Magistrate Judge
submitted a Report and Recommendation that Plaintiff's Second
Amended Complaint be dismissed for failure to join an
indispensable party. {Report and Recommendation, April 23, 2003
(Docket No. 329).) In particular, the Magistrate Judge found
that, under Federal Rule of Civil Procedure 19, PPM III was a

necessary party who could not be joined without destroying

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diversity jurisdiction and was indispensable to the litigation,
and therefore that dismissal of the action was required. (Id.)
On June 17, 2003, the Court adopted the Magistrate Judge’s
report, as amended, and dismissed Plaintiff’s case, but stayed
enforcement of the judgment pending the outcome of Plaintiff’s
appeal. (Order Adopting Magistrate Judge's Report and
Recommendation, June 17, 2003 (Docket No. 355).) Plaintiff’s
March 18, 2003, motion to amend his Complaint was therefore
mooted by the Court’s June 17, 2003, order dismissing the case.

On January 24, 2005, the United States Court of Appeals for
the Sixth Circuit reversed this Court’s decision to dismiss
Plaintiff’s action for failure to join an indispensable party,
and remanded the case “with instructions to consider the
feasibility of joining as defendants all of the remaining limited
partners of PPM III.” Hooper v. Wolfe, 396 F.3d 744 (6th Cir.
2005). Those remaining limited partners include Kenneth and
Michael Jones.

On March 24, 2005, Plaintiff filed his Third Amended
Complaint. In addition to adding the Joneses as Defendants,
however, the Third Amended Complaint asserts claims against the
four purported defendants - Dr. Reager, Wells Fargo, PPM V, and

Sunburst Bolton, LLC - whom Plaintiff had sought to add in its

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March 18, 2003, motion to amend, upon which the Court did not

rule.1
II. STANDARD OF REVIEW

Federal Rule of Civil Procedure 12(b)(2) permits dismissal
of a claim for lack of jurisdiction over the person. The
plaintiff bears the burden of establishing jurisdiction.
Theunissen v. Matthewsr 935 F.Zd 1454, 1458 (6th Cir. 1991).
Absent an evidentiary hearing on the issue of personal
jurisdiction, the plaintiff “need only make a prima facie showing
of jurisdiction.” Bird v. Parsons, 289 F.3d 865, 821 (6th Cir.
2002)(quoting Neogen Corp. v. Neo Gen Screening, Inc., 282 F.3d
883, 887 (6th Cir. 2002)). A prima facie showing of jurisdiction
may be established based upon the plaintiff’s presentation of
specific facts, by affidavit or otherwise. Theunissen, 935 F.2d
at 1458. Where a court does not conduct an evidentiary hearing,
the pleadings, depositions, and affidavits are considered in the
light most favorable to the plaintiff. Williams v. FirstPlus
Home Loan Trust 1996-2, 209 F.R.D. 404, 410 {W.D. Tenn. 2002}.

In its determination of a 12(b](2) motion, the Court “does
not weigh the controverting assertions of the party seeking

dismissal.” Theunissen, 935 F.2d. at 1459. The Court, however,

is not required “to ignore undisputed factual representations of

 

l Plaintiff did not seek leave of court to amend his
Complaint to add the four new defendants when he filed his March
24, 2005, Third Amended Complaint.

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the defendant which are consistent with the representations of
the plaintiff” Kerrv Steel, Inc. v. Paragon Indus., Inc., 106
F.3d 147, 153 (6th Cir. 1997). “Dismissal in this procedural
posture is proper only if all the specific facts which the

plaintiff ... alleges collectively fail to state a prima facie
case for jurisdiction.” ld¢ at 149 (quoting Theunissen, 935 F.2d
at 1458).

III . ANALYSIS

Defendants Dr. Reager and Wells Fargo move to dismiss
Plaintiff's claims against them for lack of personal jurisdiction
or, in the alternative, to transfer venue to the United States
District Court for the Central District of California. A federal
court has personal jurisdiction over a defendant if the defendant
is amenable to service of process under the forum state’s long-
arm statute and if the exercise of personal jurisdiction would
not deny the defendant due process. Michigan Coalition of
Radioactive Material Users. Inc. v. Griepentrog, 954 F.2d 1174,
1176 (6th Cir. 1992). In Tennessee, the long-arm statute extends
the personal jurisdiction of Tennessee courts to the limits of
the Due Process Clause. Tenn. Code Ann. § 20-2-214(a)(6) (2004);
Pavne v. Motorists' Mut. Ins. Co.'s, 4 F.3d 452, 455 (6th Cir.
1993). Therefore, the Court need only determine whether the
assertion of personal jurisdiction over Dr. Reager and Wells
Fargo would violate the Due Process Clause. Bridgeport Musicl

lnc. v. Still N the Water Publ'g, 327 F.3d 472, 477 (6th Cir.

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2003). Consistent with the Due Process Clause, courts can
“exercise personal jurisdiction over a defendant so long as that
defendant has ‘certain minimum contacts’ with the forum such that
the exercise of personal jurisdiction ‘does not offend
traditional notions of fair play and substantial justice.’” Cupp
v. Alberto-Culver USA, Inc., 308 F.Supp.2d 873r 877 (W.D. Tenn.
2004)(quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316
(1945)).

Personal jurisdiction may be either general or specific.
Specific jurisdiction arises from contacts that are related to
the cause of action. The Sixth Circuit maintains a three-part
test to determine whether a Court can exercise specific
jurisdiction over a Defendant:

First, the defendant must purposefully avail himself of
the privilege of acting in the forum state or causing a
consequence in the forum state. Second, the cause of
action must arise from the defendant's activities
there. Finally, the acts of the defendant or
consequence caused by the defendant must have a
substantial enough connection with the forum state to

make the exercise of jurisdiction over the defendant
reasonable.

Calphalon Corp. v. Rowlette, 228 F.3d 718, 721 (6th Cir.
2000)(quoting Southern Mach. Co. v. Mohasco Indus.. Inc., 401
F.2d 374, 381 (6th Cir. 1968)}.

General jurisdiction, on the other hand, arises from the
Defendant's contacts with the forum state. “Unlike the specific
jurisdiction analysis, which focuses on the cause of action, the

defendant and the forum, a general jurisdiction inquiry is

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dispute blind ....” Dickson Marine Inc. v. Panaloina, 179 F.3d
331, 339 (5th Cir. 1999) (citing Helico teros, Helicopteros
Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984).

A defendant may be subject to general jurisdiction only when it
“has continuous and systematic contacts with the forum state
sufficient to justify the state's exercise of judicial power with
respect to any and all claims the plaintiff may have against the
defendant.” Kerry Steelc 106 F.3d at 149 (citing Helicopteros,
466 U.S. at 414-15 & nn. 8-10; Third Nat'l Bank in Nashville v.
WEDGE Group_c Inc., 882 F.Zd 1087, 1089 (6th Cir. 1989), cer;;
denied, 493 U.S. 1058 (1990)). “General jurisdiction is proper
gnly where ‘a defendant's contacts with the forum state are of
such a continuous and systematic nature that the state may
exercise personal jurisdiction over the defendant even if the
action is unrelated to the defendant’s contacts with the state.’”
§ird, 289 F.3d at 873 (citing HED§E, 882 F.2d at 1089)(emphasis
added).

Plaintiff contends that Dr. Reager and Wells Fargo have the
following contacts with the State of Tennessee: Dr. Reager,
through his Pension Trust administered by Wells Fargo, lent the
full purchase price of the Pico Rivera, California property to
PPM III - the transaction at issue in this case; Dr. Reager,
through his Pension Trust administered by Wells Fargo, lent

$200,000 to PPM IV, a Tennessee entity, to purchase two

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properties in Tennessee in a note that states it would be
construed under Tennessee law; Dr. Reager is a limited partner in
PPM VIII, a Tennessee entity; Dr. Reager is a limited partner in
PPM IV, a Tennessee entity; Dr. Reager is a majority member in
Sunburst Bolton, LLC, a Tennessee entity; Dr. Reager came to
Tennessee to look at the PPM IV and PPM VIII Tennessee
properties; and Dr. Reager met with Defendants Wolfe and Harold
Smith for business at a restaurant in Memphis, Tennessee in
September of 1997.

The Court first determines whether it can exercise general
jurisdiction over Dr. Reager and Wells Fargo. The Supreme Court,
in Helico teros, determined that the defendant, a Colombian
corporation, did not maintain sufficient contacts with Texas to
allow a Texas state court to exercise general jurisdiction over
the Defendant.2 Helicopteros, 466 U.S. at 418»19. In that case,
the corporation's contacts with Texas included the following:
negotiating a contract in Texas; accepting checks drawn on a
Texas bank; purchasing close to 80% of its fleet of helicopters
as well as other spare parts and accessories in Texas; and

sending pilots to Texas for training. Id. at 411, 416.

 

2 In Helico teros, the defendant owned a helicopter which

crashed in Perur killing four U.S. citizens among others. 466
U.S. at 409-10. The survivors and representatives of the four
U.S. citizens brought a wrongful death action in Texas. Id. at
412.

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In the case at bar, the Court finds that the collective
group of contacts that Plaintiff alleges Dr. Reager and Wells
Fargo have with the State of Tennessee are not so continuous and
systematic as to allow this Court to exercise general personal
jurisdiction over them. Plaintiff alleges that Dr. Reager is a
partner in three Tennessee entities that have purchased real
estate and/or loaned money to other entities in order to purchase
real estate in Tennessee. Merely doing business with citizens of
a state, however, does not confer general jurisdiction over an
out-of-state defendant. §ird, 289 F.3d at 874.

Moreover, the United States Court of Appeals for the Sixth
Circuit has found the exercise of general jurisdiction to be
inappropriate in circumstances where a defendant’s connections to
the forum state were significantly more substantial than the case

at bar. See WEDGE, 882 F.2d at 1089 (finding exercise of general

 

jurisdiction not appropriate where out of state defendant was the
100% owner of a corporation that conducted business in Tennessee,
whose directors met as often as monthly in Tennessee to review
and direct the corporation's operations; defendant was a party to
a tax sharing agreement under which defendant shared income tax
liability with subsidiary Tennessee companies; defendant officers
participated in negotiations between the plaintiff and the
corporation regarding a loan agreement, and, in conjunction with

those negotiations, deposited $7.5 million in a checking account

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maintained at a bank branch in Tennessee; and defendant executed
a “Tax Receivable Agreement” in Tennessee); Nationwide Mut. lns.
Co. v., Tqu Intern. lns. Co., 91 F.3d 790, 793-94 (6th Cir.
l996}(finding exercise of general jurisdiction inappropriate
where defendant had entered into several reinsurance agreements
with in-state corporations);3 But see Michigan Nat. Bank v.
Qualitv Dinette. lnc., 888 F.2d 462, 466 (6th Cir. 1989) (finding
exercise of general jurisdiction appropriate where defendant
retained an independent sales representative in the state,
conducted mail order solicitations of Michigan businesses, made
over 400 sales totaling over $625,000 in 1986 and 1987, and made
at least one sale in Michigan each and every month for two
consecutive years). Accordingly, the Court finds that the
contacts with the state of Tennessee of Dr. Reager and Wells
Fargo are not so continuous and systematic as to justify the

assertion of general personal jurisdiction over them.

 

3 The United States Court of Appeals for the Fifth Circuit
came to a similar conclusion in Wilson v. Belin, 20 F.3d 644, 650
(5th Cir. 1994)(finding exercise of general jurisdiction not
appropriate where out of state defendant lawyer worked on
approximately one project per year for Texas law firms; gave a
legal seminar in Texas; served as a pro bono consultant to a
Texas historical society; traveled to Dallas, Texas twice; wrote
a letter to the editor of a Texas newspaper; wrote books and a
newspaper article circulated in Texas; gave interviews to Texas
reporters; visited the Texas School Book Depository; and engaged
in discussions with an investment banking firm in Texas on behalf
of a nonresident corporation in which he had an interest).

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The Court next considers wether it can exercise specific
personal jurisdiction over the Defendant. The first prong of the
three-part Mohasco test requires that the Court determine whether
the Defendant has purposefully availed itself of the privilege of
acting in Tennessee or causing a consequence in the state.
Mohasco, 401 F.2d at 381. “The ‘purposeful availment'
requirement is satisfied when the defendant's contacts with the
forum state proximately result from actions by the defendant
himself that create a substantial connection with the forum
State, and when the defendant’s conduct and connection with the
forum are such that he should reasonably anticipate being haled
into court there.” CompuServe, Inc. v. Patterson, 89 F.3d 1257,
1263 (6th Cir. 1996) (internal quotation marks omitted).

Plaintiff asserts that Dr. Reager's above described contacts
support his argument that the Court should exercise specific
personal jurisdiction over Dr. Reager and Wells Fargo. ln
considering whether specific jurisdiction is appropriate,
however, the Court must focus upon the transaction that caused
the purported harm - in this case, the loan from Dr. Reager
through his Pension Trust to PPM III to facilitate the purchase
of the Pico Rivera, California property. lt is undisputed that
the loan was negotiated in California, that it related to the
purchase of property located in California, and that the

agreement included a choice of law clause choosing California

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law. Plaintiff points to no evidence in the record to show that
Dr. Reager ever traveled to Tennessee in order to negotiate that
loan or that he in any way solicited the loan in Tennessee.
Accordingly, the Court finds that Plaintiff has not shown
that Dr. Reager, through his asserted contacts, has maintained a
substantial connection with Tennessee. The fact that Dr. Reager
entered into a business contract with PPM III, a Tennessee
entity, does not by itself establish purposeful availment.
Nationwide Mut. lns. Co. v. Trvd lnt'l lns. Co., 91 F.3d 790, 795
(6th Cir. 1996)(citing Bur er Kin , 471 U.S. at 478); Calphalon,
228 F.3d at 722. Rather, “‘prior negotiations and contemplated
future consequencesr along with the terms of the contract and the
parties' actual course of dealing ... must be evaluated in
determining whether the defendant purposefully established
minimum contacts within the forum.'” Nationwide, 91 F.3d at 790
(quoting Burger King, 471 U.S. at 479). ln the case at bar,
Plaintiff has asserted no specific facts showing that Defendants
had any substantial contacts with Tennessee that related to
negotiating or performing the loan agreement regarding the Pico
Rivera, California property. Moreoverr Plaintiff does not point
to any contract terms containing Tennessee forum or venue
selection clauses. Plaintiff also has not asserted any facts
showing that Defendant engaged in conduct in Tennessee as a

result of any course of dealing between Dr. Reager and PPM Ill

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that related to the loan agreement regarding the Pico Rivera,
California property. See Bridgeport Music, Inc., 327 F.3d at
482-83 (finding no purposeful availment in copyright action,
where defendant had contractual affiliation but not substantial
contacts or negotiations with non-party's Tennessee offices,
where contract had no Tennessee forum or venue selection clauses,
and where parties’ course of dealing did not implicate conduct in
Tennessee).

Plaintiff points to Dr. Reager’s membership in several
Tennessee limited partnerships, and the fact that those
partnerships purchased property in Tennessee, to support his
argument that this Court should find that Dr. Reager and Wells
Fargo are subject to specific personal jurisdiction. Although
Dr. Reager's membership in those Tennessee entities may be
sufficient to subject him to specific personal jurisdiction with
respect to claims arising out of transactions entered into by
those partnerships, the instant suit arises out of the purchase
of the Pico Rivera, California property by PPM lll. The only
connection that Dr. Reager and Wells Fargo had to that
transaction was as the provider of financing for the purchase.
The Court therefore finds that Plaintiff has failed to show that
the Dr. Reager and Wells Fargo purposefully availed themselves of

the privilege of acting in Tennessee. Accordingly, the Court

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concludes that it cannot exercise specific personal jurisdiction
over Dr. Reager and Wells Fargo.
IV. CONCLUSICN

For the reasons stated, the Court concludes that it has
neither general nor specific personal jurisdiction over Dr.
Reager and Wells Fargo. Accordingly, the motion of Defendants
Dr. Reager and Wells Fargo to dismiss for lack of personal
jurisdiction is GRANTED and Plaintiff's claims against Dr. Reager

and Wells Fargo are DISMISSED.4

so oRDERED this _6 day of July, 2005.

manifth

JON . MCCALLA
UNIT D STATES DISTRICT JUDGE

 

4 Since the Court has granted the motion to dismiss for lack
of personal jurisdiction of Dr. Reager and Wells Fargo, the Court
will not evaluate Defendants' alternative motion to transfer
venue.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 459 in
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